Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 1 of 29 PageID: 2355




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


   DONNA GARBACCIO, individually )
   and on behalf of all others similarly )
   situated,                             ) Civil Action
                                         )
               Plaintiff,                ) No. 2:16-cv-02740(JMV)(JBC)
                                         )
   v.
                                         ) Honorable John Michael Vazquez
   ST. JOSEPH’S HOSPITAL AND             ) United States District Judge
   MEDICAL CENTER AND                    )
   SUBSIDIARIES, et al.,                 ) Honorable James B. Clark
                                         ) United States Magistrate Judge
               Defendants.               )
                                         ) CLASS ACTION



      DECLARATION OF MICHELLE C. YAU AND LYNN LINCOLN SARKO
        IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL
       APPROVAL OF SETTLEMENT AGREEMENT AND CERTIFICATION
           OF SETTLEMENT CLASS AND UNOPPOSED MOTION FOR
             AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF
                 EXPENSES, AND FOR INCENTIVE AWARDS
                         TO NAMED PLAINTIFFS

         Michelle Yau and Lynn Sarko respectfully submit this Declaration of Class

  Counsel in Support of Plaintiffs’ Unopposed Motion for Final Approval of

  Settlement Agreement and Unopposed Motion for Award of Attorneys’ Fees,

  Expenses, and for Incentive Awards to Named Plaintiffs. This Settlement,1 if


  1
   Capitalized terms not otherwise defined in this Declaration shall have the same
  meaning ascribed to them in the Class Action Settlement Agreement. A copy of the

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 2 of 29 PageID: 2356




  approved by the Court, will resolve in its entirety this class action litigation,

  Garbaccio v. St. Joseph’s Hospital and Medical Center, No. 2:16-cv-2740 (D.N.J.

  filed May 13, 2016). We declare under penalty of perjury under the laws of the

  United States of America that the following is true and correct:

         1.    Michelle C. Yau is a Partner with the law firm of Cohen Milstein

  Sellers & Toll PLLC (“Cohen Milstein”), one of the firms preliminarily approved

  by this Court as Class Counsel for Plaintiffs and the Settlement Class. She is a

  member in good standing of the bars of Massachusetts and the District of

  Columbia.    She has personal knowledge of the facts set forth below (except for

  such facts as are within the exclusive personal knowledge of another Declarant)

  and, if called as witness, she could and would testify competently thereto.

         2.    Lynn Lincoln Sarko is the Managing Partner of Keller Rohrback,

  L.L.P. (“Keller Rohrback”), also one of the firms preliminarily approved by this

  Court as Class Counsel for Plaintiffs and the Settlement Class. He is a member in

  good standing of the bars of Washington, Wisconsin, and the District of Columbia.

  He has personal knowledge of the facts set forth below (except for such facts as are

  within the exclusive personal knowledge of another Declarant) and, if called as

  witness, he could and would testify competently thereto.


  Settlement Agreement is attached as Exhibit 1 to Plaintiffs’ Unopposed Motion for
  Final Approval of Settlement Agreement (“Final Approval Motion”), filed
  contemporaneously herewith.
                                           2

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 3 of 29 PageID: 2357




         3.     Cohen Milstein and Keller Rohrback (hereinafter “Class Counsel”)

  have been responsible for the prosecution of the above-captioned action, and for

  negotiation of the Settlement Agreement.

         4.     The Court preliminarily approved the Settlement Agreement and

  Notice Procedures on October 5, 2017 (“Preliminary Approval Order”). The

  Settlement Agreement binds the Settlement Class, which consists of all present and

  former participants (vested or non-vested) or beneficiaries of the St. Joseph’s

  Healthcare System Pension Plan (the “Plan”) as of the Effective Date of

  Settlement.

         5.     The Settlement provides that Defendants will contribute $42.5 million

  dollars to the Plan within sixty (60) days after execution of the Settlement

  Agreement, or before. Defendants have informed Class Counsel that they have

  contributed the Settlement’s $42.5 million, plus an additional $2.5 million, for a

  total lump-sum Plan contribution of $45 million. The Settlement provides that for

  seven years after the Settlement Agreement becomes final, if the Plan’s trust fund

  is ever insufficient to pay benefits as they become due, Defendants must make

  sufficient contributions to the trust to meet these benefits.    Additionally, the

  Settlement provides that current participants in the Plan will receive certain

  ERISA-like reporting, disclosure, and administrative protections, which consists of

  annual notices regarding participants’ accrued retirement benefits as well as

                                           3

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 4 of 29 PageID: 2358




  information regarding the funding status of the Plan, its liabilities, and its

  fiduciaries. Finally, the settlement prevents St. Joseph’s Hospital and Medical

  Center from decreasing any plan participant’s accrued benefit for seven years after

  the Settlement Agreement is final.

         6.    Class Counsel committed considerable time and resources to develop

  and prosecute this matter without any guarantee of payment. Class Counsel, along

  with the law firms of Kessler Topaz Meltzer & Check (“Kessler Topaz”) and Izard

  Kindall & Raabe (“Izard Kindall”), collectively “Plaintiffs’ Counsel,” worked

  closely with the Named Plaintiffs, who invested time and effort in helping to

  develop the claims in the Complaint (ECF No. 1) and overseeing the mediation

  strategy.    As detailed below, this case involved extensive investigation,

  consultation with experts, review of documents, and legal research, all of which

  were necessary to achieve a positive result for the Class.

               I.    PROCEDURAL & FACTUAL BACKGROUND

         A.    Initial Investigation into the Church Plan Exemption
         7.    This case is one of a number of cases pending around the country that

  challenge whether hospitals with a history of religious affiliations, such as St.

  Joseph’s, are entitled to claim that their pension plans are exempt from ERISA as

  “Church Plans,” defined in 29 U.S.C. § 1002(33).

         8.    Class Counsel, Cohen Milstein and Keller Rohrback, were responsible

                                            4

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 5 of 29 PageID: 2359




  for developing this area of the law more than seven years ago, with the assistance

  of the main public interest organization concerned with pension rights, the Pension

  Rights Center (“PRC”). Through the PRC, Class Counsel learned that tens of

  thousands of hospital employees were being denied the rights and protections of

  ERISA, including funding, vesting rights, and disclosure rules, because hospitals

  claimed their pension plans were exempt from ERISA as Church Plans.

         9.    Cohen Milstein and Keller Rohrback devoted many hours to

  researching the definition of a “Church Plan” found in both ERISA and the Internal

  Revenue Code, 29 U.S.C. § 1002(33) and 26 U.S.C. § 414(e), including analyzing

  the statutory text, its interaction with other provisions in the U.S. Code, the

  legislative history of the statute, and agency and court interpretations of the statute.

  Cohen Milstein and Keller Rohrback concluded, based upon their investigation,

  that there were three independent and alternative statutory prerequisites for a plan

  to be a Church Plan—that it be “established” by a church; that it be “maintained”

  by either a church or a so-called “principal-purpose organization,” and that the

  participants be employed by either a church or an entity “controlled by or

  associated with” a church, as those terms were defined under ERISA.               Class

  Counsel concluded that with respect to a typical hospital pension plan, none of

  these requirements were met, and large hospital systems like St. Joseph’s were

  improperly claiming the exemption.

                                             5

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 6 of 29 PageID: 2360




         10.   Cohen Milstein and Keller Rohrback also understood, based upon

  their research, that filing Church Plan cases like this one would challenge private

  letter rulings from the IRS and the informal Advisory Opinions of the U.S.

  Department of Labor. They also knew that the defense would maintain that the

  small amount of Church Plan case law, then in existence, would favor a defense

  reading of the Church Plan exemption. And they knew that once even a few of the

  cases were filed, the major hospitals claiming religious ties, which employ

  hundreds of thousands of people, would be arrayed against them.

         11.   Nevertheless, Cohen Milstein and Keller Rohrback decided to take on

  this high-stakes, high-risk litigation. They were the only lawyers to do so at that

  time. They filed the first cases in March of 2013. The early results in the district

  courts were mixed,2 but when the first three cases reached the appellate courts,

  Cohen Milstein and Keller Rohrback achieved unanimous rulings in favor of the

  plaintiffs in the Third, Seventh, and Ninth Circuit.3 Those courts held that the

  hospital plans there at issue were not Church Plans because they were not


  2
    Compare, e.g., Kaplan v. Saint Peter’s Healthcare Sys., No. 13-2941, 2014 WL
  1284854 (D.N.J. Mar. 31, 2014); Rollins v. Dignity Health, 19 F. Supp. 3d 909
  (N.D. Cal. 2013); and Stapleton v. Advocate Health Care Network, 76 F. Supp. 3d
  796 (N.D. Ill. 2014), with Overall v. Ascension Health, 23 F. Supp. 3d 816 (E.D.
  Mich. 2014); Medina v. Catholic Health Initiatives, No. 13-1249, 2014 WL
  4244012 (D. Colo. Aug. 26, 2014).
  3
    Rollins v. Dignity Health, 830 F.3d 900, 905 (9th Cir. 2016); Stapleton v.
  Advocate Health Care Network, 817 F.3d 517 (7th Cir. 2016); Kaplan v. Saint
  Peter’s Healthcare Sys., 810 F.3d 175 (3d Cir. 2015).
                                           6

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 7 of 29 PageID: 2361




  established by a church; none of the courts of appeal reached the plaintiffs’

  alternative statutory arguments.

         12.      The defendants then sought review in the Supreme Court. The

  Supreme Court granted certiorari and consolidated the three cases in December

  2016.4       Cohen Milstein and Keller Rohrback represented the plaintiffs in the

  Supreme Court; oral argument was heard March 27, 2017. The Supreme Court

  issued its decision on June 5, 2017, reversing the holdings of the appellate courts.

  Advocate Health Care Network v. Stapleton, 137 S. Ct. 1652 (2017) (“Advocate”).

  After Advocate, Cohen Milstein and Keller Rohrback continue to pursue, on behalf

  of the plaintiffs, several other arguments in the district courts where these cases

  were originally filed. They have continued to amend complaints in other Church

  Plan cases to reflect the Advocate decision and to pursue plaintiffs’ alternate

  arguments that the pension plans of these hospital systems are not Church Plans.

         13.      The Settlement could not have been achieved without the firms’ total

  immersion in these issues and commitment to the participants of these plans.

         B.       The Investigation and Litigation of this Case
         14.      In 2016, while Class Counsel was in the process of litigating multiple

  other “Church Plan” cases, Class Counsel began working with Plaintiff Donna


  4
   See Dignity Health v. Rollins, 137 S. Ct. 547 (Dec. 2, 2016); Saint Peter’s
  Healthcare Sys. v. Kaplan, 137 S. Ct. 546 (Dec. 2, 2016); Advocate Health Care
  Network v. Stapleton, 137 S. Ct. 546 (Dec. 2, 2016).
                                              7

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 8 of 29 PageID: 2362




  Garbaccio to investigate any potential claims she might have against St. Joseph’s

  Hospital and Medical Center.

         15.    Class Counsel worked with Plaintiff Garbaccio to investigate the

  facts, circumstances, and legal issues associated with the allegations and defenses

  in this action.

         16.    This investigation included, inter alia: (a) inspecting, reviewing, and

  analyzing documents produced by or otherwise relating to Defendants, the Plan,

  and the administration and funding of the Plan; (b) researching the applicable law

  with respect to the claims asserted in this case and the possible defenses thereto;

  and (c) researching and analyzing governmental and other publicly-available

  sources concerning the Defendants, the Plan, and the industry.

         17.    Cohen Milstein and Keller Rohrback used this research to carefully

  draft the sixty-page Complaint.

         18.    Shortly after Class Counsel filed this Complaint, Plaintiffs Mary

  Lynne Barker, Anne Marie Dalio, and Dorothy Flar also filed a complaint against

  St. Joseph’s Hospital and Medical Center in this District with the same causes of

  action—that the Plan was improperly operating as a Church Plan exempt from

  ERISA. Barker v. St. Joseph’s Hospital and Medical Center, No. 2:16-cv-2748-

  JLL-JAD (D.N.J. filed May 16, 2016) (“Barker Action”).               The law firms

  representing the plaintiffs in the Barker Action were Kessler Topaz and Izard

                                            8

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 9 of 29 PageID: 2363




  Kindall.

         19.      After the Barker Action was filed, Class Counsel moved to

  consolidate the two actions and appoint Plaintiff Garbaccio as Interim Lead

  Plaintiff and Cohen Milstein and Keller Rohrback as Interim Lead Class Counsel.

  Class Counsel and the other firms briefed the issue in both this action and the

  Barker Action. The Court consolidated the two cases into the instant action in July

  2016. Following the refiling of the firms’ motion to appoint lead plaintiffs and

  lead counsel, the Court appointed Cohen Milstein and Keller Rohrback as Interim

  Lead Class Counsel in March 2017. Shortly thereafter, the parties agreed to

  attempt to resolve the case through a third party mediator. The parties requested

  that the Court stay the case proceedings while they engaged in settlement

  negotiations.      ECF No.      97.   In response, on May 8, 2017, the Court

  administratively terminated the case while the parties attempted to resolve it

  through mediation. ECF No. 98. Throughout this litigation, Class Counsel have

  worked vigorously to ensure that Plaintiffs were represented by the law firms with

  the most experience and deepest understanding of the relevant law.

         C.       Settlement Process
         20.      In preparation for mediation, the Plaintiffs requested and received

  several documents from Defendants to help the parties define their settlement

  positions, including actuarial reports about the Plan’s funded status and the

                                            9

  94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 10 of 29 PageID: 2364




   assumptions underlying such reports; applicable insurance policies if any; financial

   statements for the hospital’s non-profit organization; and information regarding the

   number of participants in the Plan.      Class Counsel was able to undertake a

   thorough investigation of the facts and relevant law, including ongoing Church

   Plan litigation across the country, and thus was well versed in the strengths and

   weaknesses of their case.

          21.   The parties attended an in-person mediation session on May 24, 2017

   in Los Angeles, California. These negotiations were overseen by a third-party

   JAMS mediator, Robert A. Meyer, Esq. Mr. Meyer has substantial experience

   mediating cases involving ERISA and retirement plan issues, including cases

   involving the Church Plan exemption. The mediation occurred after the Supreme

   Court oral argument, but before the release of the decision. Both Class Counsel

   and Defendants’ Counsel spoke with the mediator about their positions and also

   exchanged a draft term sheet concerning potential settlement terms.

          22.   The parties, after exchanging several proposals and counter proposals,

   reached agreement as to the principal terms at the end of the mediation on May 24,

   2017. They signed a term sheet of principal terms of the settlement, intending to

   further supplement the term sheet.

          23.   After further negotiations, the parties signed a supplemental term

   sheet on June 6, 2017 and filed a notice of settlement with the Court the next day.

                                           10

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 11 of 29 PageID: 2365




   The parties continued to negotiate key parts of the settlement before finally

   executing the Settlement Agreement on July 20, 2017.

          24.   Only after the parties reached agreement on the key terms for the

   Settlement did they negotiate attorneys’ fees. These negotiations were overseen by

   the mediator, Mr. Meyer. Ultimately, Mr. Meyer assisted the parties in reaching an

   agreement on attorney’s fees through a mediator’s proposal, which the parties

   accepted (subject to approval by the Court).

          25.   The Settlement Agreement now before the Court, Exhibit 1 to

   Plaintiffs’ Unopposed Motion for Preliminary Approval of Settlement Agreement,

   is a comprehensive agreement based on the Term Sheet. The Settlement is the

   result of lengthy arm’s-length negotiations between the parties.

          D.    Settlement Agreement
          26.   The    Settlement    Agreement      provides    substantial   monetary

   consideration to improve the retirement security of all Plan participants and

   beneficiaries. Defendants were required to contribute $42.5 million to the Plan by

   September 20, 2017, and they have done so, plus an additional $2.5 million in

   furtherance of this obligation. This amount represents approximately half of the

   underfunding of the Plan, and the contribution will result in a substantial reduction

   of the Plan’s underfunding (an estimated $85 million underfunding at the time of

   negotiations).

                                            11

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 12 of 29 PageID: 2366




          27.   The Settlement also provides for a guarantee that for the next seven

   years after the date the Settlement becomes final, if the assets in the Plan’s trust are

   ever insufficient to pay accrued benefits, St. Joseph’s will make contributions to

   the trust fund sufficient to pay participants’ accrued benefits (as defined by the

   terms of the Plan) as benefits become due.

          28.   The Settlement Agreement also provides that for seven years, any

   amendment or termination of the Plan cannot reduce participants’ accrued benefits

   as defined in the Plan. Likewise, for the next seven years, if the Plan is ever

   merged with or into another plan, participants will be entitled to the same or

   greater accrued benefits under the terms of the Plan than they were before the

   merger.

          29.   Also, for the next seven years, the Plan must furnish participants with

   yearly notifications informing participants about the funding status of the Plan, a

   statement of each participant’s individual benefit, the Plan’s total income, the

   assets and liabilities of the Plan, and the Plan’s claim review procedure. This

   provision of the settlement mimics ERISA’s notification requirements and was

   designed to provide Class members with ERISA-like informational protections so

   that they are able to plan for their retirement. At mediation, Class Counsel was

   told that Defendants anticipated that on or before December 31, 2018, the Plan

   would be amended to close participation for new employees and freeze accrued

                                             12

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 13 of 29 PageID: 2367




   benefits for current participants. These administrative protections will commence

   after the Plan is amended.

          E.    Preliminary Approval
          30.   The Court preliminarily approved the Settlement, including the Notice

   Program, on October 5, 2017.

          31.   The Class Notice detailed information about the Settlement,

   including: (1) a comprehensive summary of the Settlement’s terms; (2) notice of

   Class Counsel’s intent to request attorneys’ fees, reimbursement of expenses, and

   Incentive Awards for the services performed by Named Plaintiffs; and (3) detailed

   information about the Released Claims.

          32.   In addition, the Class Notice provided information about the Fairness

   Hearing date, rights of members of the Settlement Class to object (and deadlines

   and procedures for objecting), and the procedures to receive additional

   information. The Notice included contact information for Class Counsel,

   information on the toll-free phone number for inquiries, and the address of the

   settlement website for further information: http://www.cohenmilstein.com/st-

   josephs-settlement.

          33.   Prior to the deadline for disseminating the Class Notice, on October

   31, 2017, Class Counsel filed a letter seeking an amendment to the Court’s

   Preliminary Order to allow more time for an attorney hired by an objector to file

                                            13

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 14 of 29 PageID: 2368




   any notices of intention to appear at the Final Approval hearing. This request was

   necessitated by the Order’s deadline providing for such filing on a Sunday, and

   therefore requiring a Friday filing pursuant to Rule 6(a)(5), reducing the time in

   which to file. The Court granted the request, allowing any notices of intention to

   appear to be filed on or before Monday, February 12, 2018. The amendment to the

   Class Notice was made before the Settlement Administrator distributed the Notice

   to the preliminarily-approved Class.

          34.    In accordance with the Preliminary Approval Order, the settlement

   administrator Dahl Administration LLC, mailed the Class Notice on November 3,

   2017 to 10,798 current and former Plan participants, and Class Counsel posted the

   Complaint, Settlement Agreement, Class Notice, Preliminary Approval Motion,

   and     the   Preliminary    Order     on     the   Class    Settlement     websites,

   https://www.cohenmilstein.com/saintjosephs-settlement                                and

   www.kellersettlements.com.

          35.    As of January 19, 2018, Class Counsel have received and responded

   to phone calls and emails from 56 Class members. The settlement website has

   received 151 hits.    Class Counsel will continue to devote substantial time to

   answering inquiries from Class members about the Settlement.

          36.    To date, Class Counsel have not received any objections to the

   proposed settlement. Class Counsel have not received any notices of intention to

                                            14

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 15 of 29 PageID: 2369




   appear at the March 6, 2018 fairness hearing.

   II.      CLASS COUNSEL’S REQUEST FOR ATTORNEYS’ FEES AND
            EXPENSES
            37.   With respect to the statements in this Section and Section III, below,

   the Declarants each make their declarations with respect to the fees and expenses

   incurred by their respective law firms only, and not as to those of each other’s law

   firms.

            38.   Pursuant to the Settlement Agreement, the Parties have agreed that

   Plaintiffs will seek no more than $2.5 million in a petition for attorneys’ fees and

   expenses and incentive awards of $10,000 for each of the four Named Plaintiffs.

            39.   In total, Class Counsel and the other firms expended 2,091.25

   professional hours litigating and settling this case. This includes time spent on the

   following: (1) learning about the widespread use of the Church Plan exemption by

   major hospital chains to avoid compliance with ERISA; (2) researching the law

   bearing on the Church Plan exemption and concluding large hospital systems were

   not entitled to the exemption; (3) investigating the non-profit hospital business as it

   bore on liability and defenses; (4) investigating the facts of this case, and drafting

   and filing the Complaint; (5) reviewing hundreds of pages of documents, including

   publicly available information about the plans and a confidential production of

   documents from Defendants; (6) conducting factual and legal research; (7)

   engaging in motion practice to consolidate the Garbaccio action with the Barker
                                             15

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 16 of 29 PageID: 2370




   action, appoint interim lead counsel, and appoint an interim lead plaintiff; (8)

   monitoring developments in all the Church Plan cases in order to determine the

   impact on this case; (9) negotiating and crafting a comprehensive Settlement

   Agreement after arm’s-length negotiations overseen by a third-party mediator;

   (10) successfully moving for preliminary approval of the Settlement; (11) drafting

   the Class Notice materials and posting them on dedicated settlement websites; and

   (12) individually responding to class member inquiries concerning the Class

   Notices, the Settlement, and this litigation.

          40.   As this case progresses through final approval proceedings, Class

   Counsel expects that they will continue to devote additional time to this matter.

   Indeed, Class Counsel still needs to: (1) prepare for and attend the final approval

   hearing; (2) research, draft, and prepare any additional submissions requested by

   the Court; (3) assist Settlement Class members with their inquiries; (4) respond to

   any objections that may arise; and (5) handle any resulting appeal.

          41.   This work represents 1,497.25 hours from professionals at Cohen

   Milstein, 300.50 hours from professionals at Keller Rohrback, 239.50 hours from

   Kessler Topaz and 54.00 hours from Izard Kindall. See also Declaration of Mark

   K. Gyandoh, ¶ 4; Declaration of Mark Kindall, ¶ 4.

          42.   Plaintiffs’ Counsel kept files contemporaneously documenting all

   time spent developing, investigating, and prosecuting the claims in this case.

                                             16

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 17 of 29 PageID: 2371




   These time and expense reports for our respective firms are summarized herein and

   attached as Exhibits C (Cohen Milstein fees and expenses) and D (Keller Rohrback

   fees and expenses), and summarized in the Declaration of Mark Gyandoh (Kessler

   Topaz’s fees and expenses) and the Declaration of Mark Kindall (Izard Kindall’s

   fees and expenses).

          43.    The 2,091.25 hours Plaintiffs’ Counsel collectively expended on this

   case were reasonably spent, especially given the high-stakes, high-risk nature of

   this litigation.

          44.    At Plaintiffs’ Counsel’s standard hourly rates, which are comparable

   to those of other class action attorneys, Plaintiffs’ Counsel’s total lodestar for this

   case comes to $1,169,336.05.

          45.    The $2,425,863.95 that Plaintiffs request in attorneys’ fees for

   Plaintiffs’ Counsel (the total fee request less expenses and incentive awards for

   Plaintiffs) therefore represents a multiplier of 2.07.

          46.    Work was allocated across the firms to maximize efficiency. Class

   Counsel carefully distributed work among all Plaintiffs’ Counsel to minimize the

   fees in this case; thus, senior attorneys did not do the work that could be

   accomplished by more junior attorneys, and attorneys did not do the work that

   could be completed by paralegals. Class Counsel assigned tasks depending on a

   number of considerations, with the goal of minimizing duplication of effort. If

                                              17

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 18 of 29 PageID: 2372




   Class Counsel had not been stringent in these efforts, the number of hours devoted

   to the case would have been much higher.

            47.   Presenting an ERISA case of this type on the merits invites substantial

   risks, expense, and delay. Defendants have defended their actions with respect to

   the Plan to date, and there is no reason to believe they would not continue to do so

   through trial and on appeal if necessary. Their counsel, Proskauer Rose LLP, is

   highly experienced in defending complex ERISA class actions, which further

   required sufficient devotion of time and resources to this case.

            48.   Class Counsel have served in leadership positions in the past, and the

   hours spent on this case are consistent with Class Counsel’s experience in those

   cases.

            49.   The schedule attached as Exhibit C is a summary of time spent by

   Cohen Milstein attorneys and other professional support staff in this case and the

   lodestar calculation based on the firm’s current billing rates from the inception of

   the case through January 16, 2018.

            50.   The hourly rates charged by Cohen Milstein in this case have been

   approved in many judicial settlement hearings, and are consistent with rates

   approved in this Circuit and others in many recent class action cases.

            51.   The schedule attached hereto as Exhibit D is a summary of time spent

   by Keller Rohrback attorneys and other professional support staff in this litigation

                                              18

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 19 of 29 PageID: 2373




   and the lodestar calculation based on the firm’s current billing rates from the

   development and inception of this case through January 16, 2018.

          52.   The hourly rates charged by Keller Rohrback in this case are similar

   to those that approved in other judicial settlement hearings, and are consistent with

   rates approved in this Circuit and others in recent class action cases.

          53.   The Declaration of Mark Gyandoh contains a summary of time spent

   by Kessler Topaz attorneys and other professional support staff in this litigation

   and the lodestar calculation based on the firm’s current billing rates from the

   development and inception of this case through December 17, 2017. Gyandoh

   Decl. ¶ 4.     The hourly rates charged by Kessler Topaz in this case are

   commensurate with rates approved in other litigation, and are consistent with rates

   approved in this Circuit and others in many recent class action cases.

          54.   The Declaration of Mark Kindall contains a summary of time spent by

   Izard Kindall attorneys and other professional support staff in this litigation and the

   lodestar calculation based on the firm’s current billing rates from the development

   and inception of this case through December 31, 2017. Kindall Decl. ¶ 4. The

   hourly rates charged by Izard Kindall in this case are commensurate with rates

   approved in other litigation, and are consistent with rates approved in this Circuit

   and others in many recent class action cases.

          55.   The lodestar figures provided above are based on each firm’s current

                                             19

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 20 of 29 PageID: 2374




   billing rates and contemporaneous time records regularly prepared and maintained

   by our respective firms. Expense items are billed separately and such charges are

   not duplicated in a firm’s billing rates.

          56.   Cohen Milstein’s rates range from $280 to $880 per hour for 1,497.25

   hours performed; Keller Rohrback’s rates range from $285 to $995 per hour for

   300.50 hours performed; Kessler Topaz’s rates range from $250 to $850 per hour

   for 239.50 hours performed; and Izard Kindall’s rates range from $550 to $925 per

   hour for 54.00 hours performed. See Exs. C & D, Gyandoh Decl. ¶ 4; Kindall Decl.

   ¶ 4. The lower end represents rates charged by support staff such as paralegals,

   while the higher end represents rates charged by the senior partners.

          57.   These rates are reasonable given the complexity of this litigation,

   which, as mentioned previously, involved nuanced factual and legal issues against

   the backdrop of a fast-developing and hotly disputed area of the law.

          58.   The rates are justified considering the host of risks presented to

   Plaintiffs in this litigation. While this case was progressing, the threshold issue of

   whether a Church Plan must be established by a church reached the Supreme

   Court. Negotiations began after the Supreme Court heard oral argument on the

   Church Plan cases, but before a decision was issued. The parties signed a term

   sheet with all the financial terms agreed upon before the decision was issued.

   Plaintiffs were well aware of the risks of an adverse decision by the Supreme Court

                                               20

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 21 of 29 PageID: 2375




   throughout the pendency of this case. Additionally, Plaintiffs recognize both that

   the Advocate ruling had a negative impact on Plaintiffs’ case, and also that post-

   Advocate, additional factual and legal issues remain in this litigation, including

   how the Supreme Court’s ruling will apply to the specific facts of this case; class

   certification; liability; and damages.       Moreover, the Tenth Circuit issued an

   opinion in a separate but similar Church Plan case in Medina v. Catholic Health

   Initiatives, No. 16-1005 (10th Cir. Dec. 19, 2017), holding that the plan at issue

   qualified as a Church Plan because it met the requirements of 29 U.S.C. §

   1002(33)(C)(i).    Medina is not binding on the case and was released after

   preliminary approval was granted—nevertheless, it demonstrates the risks present

   in litigation that this Settlement avoids.

          59.   Class Counsel’s rates have been approved in other Church Plan cases.

   Most recently, Cohen Milstein and Keller Rohrback submitted fee petitions in

   cases in which they reported hourly rates at amounts comparable to those sought

   herein, and the courts approved the fee awards. See Plaintiffs’ Motion for Attorney

   Fees and Expenses, and Incentive Awards to Named Plaintiffs, Hodges v. Bon

   Secours Health System, Inc., No. 1:16-cv-1079 (D. Md. Oct. 13, 2017), ECF No.

   113 (seeking fees at similar attorney rates to this action); Order Finally Approving

   Class Settlement, Bon Secours, No. 1:16-cv-1079 (D. Md. Dec. 21, 2017), ECF

   No. 117, attached hereto as Ex. E (approving fees at similar attorney rates to this

                                                21

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 22 of 29 PageID: 2376




   action); Plaintiffs’ Motion for Attorney Fees and Expenses, and Incentive Fees to

   Named Plaintiffs, Lann v. Trinity Health Corporation , No. 8:14-cv-2237, (D. Md.

   April 17, 2017), ECF No. 103-1 (seeking fees at similar attorney rates to this

   action); Order Finally Approving Class Settlement, Trinity, No. 8:14-cv-2237 (D.

   Md. May 31, 2017), ECF No. 11, attached hereto as Ex. F (approving fees at

   similar attorney rates to this action); Pls’ Motion for Attorney Fees and Expenses,

   and Incentive Fees to Named Pls., Griffith v. Providence Health & Services, No.

   14-01720 (W.D. Wash. Feb. 3, 2017), ECF No. 57 (seeking fees at similar attorney

   rates to this action); Order Finally Approving Class Settlement ¶ 10, Griffith v.

   Providence Health & Services, No. 14-cv-1720 (W.D. Wash. Mar. 21, 2017), ECF

   No. 69, attached hereto as Ex. G (approving fees at similar attorney rates to this

   action); see also Pl.’s Mot. for Awards of Att’ys’ Fees, Expenses & Incentive Fee,

   Overall v. Ascension Health, No. 13-11396 (E.D. Mich. Aug. 17, 2015), ECF No.

   97; Order and Final Judgment ¶ 8, Overall v. Ascension Health, No. 13-11396

   (E.D. Mich. Sept. 17, 2015) ECF No. 115, attached hereto as Ex. H.

          60.   District courts have also granted final approval and awarded fees to

   Cohen Milstein based on the firm’s then-current rates in several ERISA cases. See,

   e.g., Chesemore v. All. Holdings, Inc., No. 09-413, 2014 WL 4415919, at *6 (W.D.

   Wis. Sept. 5, 2014) (awarding then-current attorneys’ rates between $395 and

   $895); Tuten v. United Airlines, Inc., 41 F. Supp. 3d 1003 (D. Colo. 2014)

                                           22

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 23 of 29 PageID: 2377




   (awarding then-current attorneys’ rates between $395 and $570); In re Beacon

   Assocs. Litig., No. 09-777 (S.D.N.Y. May 29, 2013), ECF No. 485 (awarding

   attorneys’ rates between $295 and $895); In re Bear Stearns Mortg. Pass-Through

   Certificates Litig., No. 08-8093 (S.D.N.Y. May 27, 2015), ECF Nos. 271, 273-4B,

   287 (awarding attorneys’ rates between $210 and $915); N.J. Carpenters Health

   Fund v. RALI Series 2006-Q01 Trust, No. 08-8781 (S.D.N.Y. July 31, 2015), ECF

   Nos. 347, 353 (awarding attorneys’ rates between $240 and $915); Me. State Ret.

   Sys. v. Countrywide Fin. Corp., No. 12-5125 (C.D. Cal. Dec. 5, 2013), ECF Nos.

   182, 320 (awarding attorneys’ rates between $330 to $835); In re Oppenheimer

   Rochester Funds Grp. Sec. Litig., No. 09-2063 (D. Colo. July 31, 2014), ECF Nos.

   505, 527 (awarding attorneys’ rates between $250 and $895); Redington v.

   Goodyear Tire & Rubber Co., No. 07-1999 (N.D. Ohio Sept. 22, 2008), ECF Nos.

   109-1, 113 (awarding then-current attorneys’ rates between $575 and $625).

          61.   Similarly, district courts granted final approval and awarded fees to

   Keller Rohrback based on the firm’s then-current rates in several ERISA

   cases. See, e.g., In re Bank of New York Mellon Corp. Forex Transactions Litig.,

   MDL No. 2335 (S.D.N.Y. Sept. 24, 2015), ECF No. 637 (awarding then-current

   attorneys’ rates between $475 and $895); In re Bear Stearns Cos. ERISA Litig.,

   No. 08-2804 (S.D.N.Y. Sept. 20, 2012), ECF No. 163 (awarding then-current

   attorneys’ rates between $295 and $785); In re Ford Motor Co. ERISA Litig., No.

                                           23

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 24 of 29 PageID: 2378




   06-11718 (E.D. Mich. Feb. 15, 2011), ECF No. 291 (awarding then-current

   attorneys’ rates between $331 and $740); In re Delphi Corp. Sec., Derivative &

   “ERISA” Litig., No. 05-1725 (E.D. Mich. May 12, 2010), ECF No. 493 (awarding

   then-current attorneys’ rates between $300 and $675); In re State St. Bank & Trust

   Co. ERISA Litig., No. 07-8488 (S.D.N.Y. Feb. 19, 2010), ECF No. 191 (awarding

   then-current attorneys’ rates between $300 and $740); In re CMS Energy ERISA

   Litig., No. 02-72834 (E.D. Mich. June 27, 2006), ECF No. 226 (awarding then-

   current rates between $300 and $640).

          62.   Additionally, Class Counsel’s rates are on a par with, or even below,

   other plaintiffs’ firms with whom they have litigated cases. For example, on May

   27, 2015, the Southern District of New York approved fees for attorneys at

   Bernstein Litowitz Berger & Grossmann ranging from $340 to $975 per hour.5

   And, as a further example, on March 3, 2015, the Southern District of New York

   approved fees for attorneys at Labaton Sucharow LLP and Berman DeValerio

   ranging from $300 to $975 and $300 to $835 per hour, respectively.6 And on June

   4, 2014, the District of West Virginia approved fees for attorneys at Labaton

   Sucharow LLP and Robbins Geller Rudman & Dowd LLP ranging from $275 to



   5
     See Stickney Decl. at Ex. 1, In re Bear Stearns Mortg. Pass-Through Certificates
   Litig., No. 08-08093 (S.D.N.Y), ECF No. 273-6.
   6
     See Tubbs Decl. at Ex. A & DeValerio Decl. at Ex. A, In re Fannie Mae 2008
   Sec. Litig., No. 08-7831 (S.D.N.Y.), ECF Nos. 542-9, 542-10.
                                           24

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 25 of 29 PageID: 2379




   $975 per hour.7

          63.   Class Counsel’s rates are also commensurate with, or below those of

   defense firms that are defending Church Plan cases. The National Law Journal’s

   annual survey of law firm billing rates in 2014 shows that the 2014 billing rates for

   attorneys at Proskauer Rose LLP, defense counsel in this case, ranged from $295 to

   $950.8 Similarly, the 2014 billing rates for attorneys at Arnold & Porter LLP,

   defense counsel in the Dignity Church Plan case, ranged from $345 to $950.9

          64.   At this point, no Class members have objected to the fee request.

   III.   CLASS COUNSEL’S EXPENSES
          65.   Class Counsel have advanced or incurred a total of $34,136.05 in

   expenses to date. Summaries of each firms’ expenses are attached hereto as

   Exhibits C (Cohen Milstein’s expenses), D (Keller Rohrback’s expenses),

   Gyandoh Decl. ¶ 5, and Kindall Decl. ¶ 5. The expenses incurred in developing

   and prosecuting this litigation are commercially reasonable and are reflected on the

   books and records of each firm. These books and records are prepared from

   7
     See Bernstein Decl. at Ex. B & Reise Decl. at Ex. B, In re Massey Energy Co.
   Sec. Litig., No. 10-00689 (S.D. W.Va.), ECF Nos. 197-7, 197-8.
   8
     See Billing Rates Across the Country: The National Law Journal’s Annual Survey
   of Law Firm Billing Rates for Partners & Associates, Nat’l L. J. (Jan. 13, 2014),
   http://www.nationallawjournal.com/id=1202636785489/ Billing-Rates-Across-the-
   Country?slreturn=20150704133227 (last accessed January 18, 2018).
   9
     See Billing Rates Across the Country: The National Law Journal’s Annual Survey
   of Law Firm Billing Rates for Partners & Associates, Nat’l L. J. (Jan. 13, 2014),
   http://www.nationallawjournal.com/id=1202636785489/ Billing-Rates-Across-the-
   Country?slreturn=20150704133227 (last accessed January 18, 2018).
                                            25

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 26 of 29 PageID: 2380




   expense vouchers, check records, and other source materials and represent an

   accurate recordation of the expenses incurred.

          66.   The categories of expenses for which Class Counsel seek

   reimbursement are the type of expenses routinely charged to hourly clients and

   should therefore be reimbursed here. These costs included, inter alia: filing fees;

   travel expenses for court appearances and mediation; copying, delivery and

   telecommunications charges; expert fees; mediator’s charges;               settlement

   administration costs; and similar litigation expenses. These expenses are typically

   billed by attorneys to paying clients, and are calculated based on the actual

   expenses of these services in the markets in which they have been provided.

   Counsel maintains appropriate back-up documentation for each expense. These

   expenses incurred were necessary to secure the resolution of this litigation.

          67.   These expenses were advanced with no guarantee of recovery. As a

   result, Class Counsel had a strong incentive to keep costs to a reasonable level and

   did so.

   IV.    INCENTIVE AWARDS TO NAMED PLAINTIFFS
          68.   Class Counsel also wish to note the efforts made on behalf of the

   Class by the four Named Plaintiffs—Donna Garbaccio, Mary Lynne Barker, Anne

   Marie Dalio, and Dorothy Flar.

          69.   The Named Plaintiffs came forward to file the Complaints in this

                                            26

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 27 of 29 PageID: 2381




   action, and thereafter actively worked with Plaintiffs’ Counsel throughout the

   litigation. They collected numerous documents relating to their employment at St.

   Joseph’s and their participation in the Plan; reviewed drafts of the Complaints and

   approved the filing of the final version; stayed abreast of the filings and settlement

   negotiations; monitored developments in the other Church Plan cases pending in

   the courts of appeal and the Supreme Court; and were involved in the mediation

   and ultimate settlement of this litigation. The Named Plaintiffs communicated

   with Class Counsel by telephone, email, and by U.S. Mail throughout this lawsuit.

   They contributed time that could otherwise have been devoted to work and family

   obligations, and did so in order to help the members of the Settlement Class secure

   significant relief—resulting in an approximately 50% reduction of the Plan’s

   underfunding.

          70.   The Class Notice sent to the members of the Settlement Class

   disclosed that Class Counsel would seek Incentive Awards for these Plaintiffs, to

   be taken from the $2.5 million award described in § 7.1.4 of the Settlement

   Agreement. To date, no objections to these awards have been received.

          71.   Class Counsel believe that payment of Incentive Awards to these

   Plaintiffs is justified in this case, and that the amounts are fair and reasonable in

   light of the benefits that Plaintiffs helped achieve for the Settlement Class. Class

   Counsel accordingly asks the Court to recognize the efforts of Named Plaintiffs by

                                            27

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 28 of 29 PageID: 2382




   awarding incentive awards in the amount of $10,000 each.

   V.     CONCLUSION
          For the reasons discussed herein, Class Counsel has concluded that the

   Settlement is a fair, reasonable, and adequate resolution of the claims against

   Defendants in this ERISA class action. The requested fees, expenses, and class

   representative Incentive Awards to the Named Plaintiffs are warranted as well.

   Thus, Named Plaintiffs and Class Counsel respectfully request that the Court grant

   their Unopposed Motion for Final Approval of Settlement Agreement and

   Certification of Settlement Class and approve attorneys’ fees and expenses, grant

   Incentive Awards to the Named Plaintiffs, and enter the final order and judgment

   in its entirety.

          We declare under penalty of perjury under the laws of the United States of

   America that the foregoing is true and correct.

          Executed this 19TH day of January, 2018, in Washington, D.C.




                                             COHEN MILSTEIN SELLERS &
                                             TOLL, PLLC

                                             By: s/ Michelle C. Yau
                                             Michelle C. Yau
                                             1100 New York Avenue, N.W.
                                             Suite 500, West Tower
                                             Washington, D.C. 20005
                                             Tel: (202) 408-4600
                                             Fax: (202) 408-4699
                                            28

   94475587v3
Case 2:16-cv-02740-JMV-JBC Document 112-4 Filed 01/19/18 Page 29 of 29 PageID: 2383




                                         Email: myau@cohenmilstein.com
                                         Attorney for Plaintiffs

                                         KELLER ROHRBACK L.L.P.

                                         By: s/Lynn Lincoln Sarko
                                            Lynn Lincoln Sarko
                                            1201 Third Avenue, Suite 3200
                                            Seattle, WA 98101
                                            Tel: (206) 623-1900
                                            Fax: (206) 623-3384
                                            Email: lsarko@kellerrohrback.com




                                        29

   94475587v3
